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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,                            CASE NO. 10-80149-Cr-Marra
                  Plaintiff,
  vs.                                                  NOTICE OF SENTENCING

  JACOBO DRESZER, M.D.,
                  Defendant.
                                           /

  TO:    Defendant, Defense Counsel, and U.S. Attorney's Office

          By direction of the Honorable Kenneth A. Marra, United States District Judge, YOU
  ARE HEREBY ORDERED to appear in the United States District Court for the Southern
  District of Florida on Friday, January 13, 2012 at 10:30 a.m. for the imposition of sentence.
  On that date, report to the U.S. Courthouse, 701 Clematis Street, Courtroom #4, West Palm
  Beach, Florida, where sentence will be imposed. You will receive no further notice.
          If the above-named defendant has executed a bond with this court, let this notice advise
  the defendant that failure to appear as directed herein could result in his/her being charged with a
  violation of the Comprehensive Crime Control Act (18:USC:3146), which carries a maximum
  sentence of up to ten (10) years imprisonment and a fine of $250,000, or both, if convicted.
          IT IS FURTHER ORDERED that a Presentence Investigation Report to this Court will be
  completed. DEFENSE COUNSEL (AND THE DEFENDANT, IF ON BOND) ARE TO
  REPORT THIS DATE TO THE UNITED STATES PROBATION OFFICE OF THE COURT
  FOR INTERVIEW AND FURTHER INSTRUCTION.
          IT IS FURTHER ORDERED that the U.S. Attorney's Office immediately provide the
  U.S. Probation Department the necessary information to prepare the Prosecution Section of the
  Presentence Report.

  Date: 10/12/11                                CLERK, UNITED STATES DISTRICT COURT
  Counsel: Sebastian Cotrone
  Received: Jacobo Dreszer                      BY: Irene Ferrante
                                                  COURTROOM DEPUTY CLERK

  Guilty Plea (X )              Bond ( )                       To Counts
  Trial       ( )               Federal Custody ( )            To Total Counts
  Nolo plea ( )                 State Custody ( )              AUSA: Paul Schwartz/Strider
                                                               Dickson
